Case 1:01-cv-12257-PBS Document 6530-16 Filed 09/22/09 Page 1 of 4




             EXHIBIT 15
        Case 1:01-cv-12257-PBS Document 6530-16 Filed 09/22/09 Page 2 of 4

Gaston, Sue                                                   January 24, 2008
                                 Washington, DC

                                                                               Page 1
                   UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -

    IN RE:    PHARMACEUTICAL       )   MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     )   CIVIL ACTION

    PRICE LITIGATION               )   01-CV-12257-PBS

    THIS DOCUMENT RELATES TO       )

    U.S. ex rel. Ven-a-Care of     )   Judge Patti B. Saris

    the Florida Keys, Inc.         )

         v.                        )   Chief Magistrate

    Abbott Laboratories, Inc.,     )   Judge Marianne B.

    No. 06-CV-11337-PBS            )   Bowler

    - - - - - - - - - - - - - - -

         (cross captions appear on following pages)




              Videotaped deposition of SUE GASTON

                            Volume I



                               Washington, D.C.

                               Thursday, January 24, 2008

                               9:00 a.m.




                    Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com

                                                                  c68935c6-4f35-4a4e-9ec1-be302bbe74cf
             Case 1:01-cv-12257-PBS Document 6530-16 Filed 09/22/09 Page 3 of 4

Gaston, Sue                                                                        January 24, 2008
                                          Washington, DC
                                             Page 242                                                    Page 244
 1   book or something?                                   1       Q.    Which manufacturers are there?
 2            MR. TORBORG: I think it's dated on the      2           MS. MARTINEZ: Excuse me. Just for the
 3   side 1996.                                           3    record, could we have -- again, since we have no
 4            MS. MARTINEZ: Right. I'm just saying        4    exhibit, could we have the page that she's looking
 5   for the record, we're not going to have an exhibit,  5    at, page number for the record?
 6   so --                                                6           THE WITNESS: 3-302.
 7            MR. TORBORG: Sure. That's a good idea. 7             A. Fujisawa, Lilly and I think that's it.
 8   I'll do that.                                        8        Q. Can I take a look at that real quick?
 9            BY MR. TORBORG:                             9        A. Mm-hmm.
10        Q. Ms. Gaston, do you recognize that book? 10            Q. Did you see one for Abbott?
11        A. Yes.                                        11        A. Oh, okay. You're over here too. It's
12        Q. Okay. Could you tell us what it is?         12    also on page 3-303. Is this a continuation over
13        A. It's the FDA Orange Book.                   13    here of this?
14        Q. It's a hard copy version dated 1996?        14        Q. That's the way that I read it, but --
15        A. Correct.                                    15           MS. MARTINEZ: Since we can't see what --
16        Q. And the FDA publishes its Orange Book       16        A. Okay. Ledderle, it looks like they're in
17   once every year; is that right?                     17    here too. Abbott, Elkins. Okay. That's it.
18        A. I'm not sure.                               18        Q. Now, based on your understanding, are
19        Q. Okay. In any event, this one at the side    19    there any of those vancomycin products that are not
20   says it's 1996?                                     20    rated A?
21        A. Correct.                                    21        A. It doesn't appear that way.
22        Q. And is it your understanding that the       22        Q. So under the regulatory and statutory
                                             Page 243                                                    Page 245
 1   Orange Book has different sections, one of which is 1     criteria vancomycin hydrochloride would qualify as a
 2   titled Product Drug Cost Listing or something like    2   drug product that would satisfy the FUL criteria; is
 3   that? If you look at the top page there.              3   that right?
 4       A. Are you talking about in here? It's been       4           MR. WINGET-HERNANDEZ: Objection, form.
 5   years since we've I've looked at one of these books, 5            MS. MARTINEZ: Objection, form.
 6   so --                                                 6        A. I would say no, because -- just because
 7       Q. If you look at the spot that I showed          7   it's A-rated. This is an injection.
 8   you, where your finger is, what does the top of that 8         Q. Okay.
 9   say? I can't remember exactly.                        9        A. So I don't know if this product -- if
10       A. "Prescription drug product list."             10   this is an injectable, then there are certain
11       Q. Do you know what that means?                  11   products that are in the included on the FUL.
12       A. Prescription drug product list.               12        Q. And we'll talk about that in a bit. Why
13       Q. So that's a list of prescription products     13   don't we talk about it now. Why are not injectable
14   in the Orange Book --                                14   products included on the FUL?
15       A. Okay.                                         15           MR. WINGET-HERNANDEZ: Objection, form.
16       Q. -- by alphabetical order? Is that what        16        A. When I started to work on the FULs
17   it looks like?                                       17   injectable products were not included. And it's my
18       A. That's what it looks like.                    18   understanding that the purpose of the FUL program is
19       Q. And looking at vancomycin hydrochloride 19         to set reimbursement rates on drugs that are
20   there, there are a number of different manufacturers 20   generally used by the Medicaid population in an
21   listed; is that right?                               21   outpatient-type, like a pharmacy-type setting, most
22       A. Correct.                                      22   commonly used products. And it's my understanding

                                                                                62 (Pages 242 to 245)
                          Henderson Legal Services, Inc.
202-220-4158                                                   www.hendersonlegalservices.com

                                                                                           c68935c6-4f35-4a4e-9ec1-be302bbe74cf
             Case 1:01-cv-12257-PBS Document 6530-16 Filed 09/22/09 Page 4 of 4

Gaston, Sue                                                                       January 24, 2008
                                          Washington, DC
                                             Page 246                                                    Page 248
 1   that injectables and other products many times are    1       Q. Because if the initial identification of
 2   provided in a physician's office and other type of    2   drugs that satisfied the criteria was just two or
 3   settings where they might not be claimed separately. 3    more A-rated drugs or three or more A-rated drugs if
 4   They might be included in a payment, like a           4   one of them was not A-rated, and that was done by
 5   physician payment.                                    5   computer presumably that would bring in injectable
 6           Also, injectables, many times when            6   drugs like vancomycin, right?
 7   they're billed on the claim form they're not --       7            MS. ALBEE: Objection.
 8   they're billed with codes rather than NDC numbers,    8       A. No. There are still more criteria. You
 9   which means that the states may not be paying for     9   still have the Orange Book criteria, but there are
10   them through their pharmacy benefit but through      10   still criteria that the systems folks put in to look
11   another means, such as a physician's visit or a      11   for the type of drugs that the FUL prices are set
12   hospital or something like that.                     12   on.
13           So many times what we're trying to do        13       Q. So is it your understanding that HCFA
14   with the FULs is use most commonly used drugs and 14      specifically set up the computer program to identify
15   covered outpatient drug type, so like tablets and    15   and exclude injectable drugs?
16   capsules.                                            16            MS. MARTINEZ: Objection, form.
17       Q. Is there anything in the regulations or       17       A. In one part of the process, yes.
18   statutes that limit the FUL program to tablets or    18       Q. And do you know in what part of the
19   capsules or other drugs that are commonly            19   process that was done?
20   administered in the outpatient setting?              20       A. No, I don't.
21       A. Not that I know of.                           21       Q. Did you have any part in that process of
22       Q. That was just the -- when you started         22   either manually excluding the injectables drugs or
                                             Page 247                                                    Page 249
 1   working on the FULs that was just the way that HCFA 1     setting up a computer program such that those drugs
 2   approached it, you did not establish FULs on the      2   would be moved aside?
 3   injectables?                                          3       A. The basic criteria for the system was
 4       A. Correct.                                       4   developed before I got there.
 5       Q. And did you ever receive any explanation       5       Q. Who would be the best person to ask about
 6   about why that was?                                   6   why it was that injectables were specifically
 7       A. I can't say specifically there was an          7   excluded from the FUL program?
 8   explanation. I think you learn this as you work       8            MR. WINGET-HERNANDEZ: Objection, form.
 9   with the program.                                     9            MS. MARTINEZ: Objection, form.
10       Q. But you would agree with me that the          10       A. I don't know. Pete Rodler was the first
11   Orange Book page that I showed you does show that in 11   one I know that worked on FULs. That's the only
12   1996 there were at least two versions of vancomycin  12   person I could think of.
13   that were rated A in the Orange Book?                13       Q. Are these other -- now, we've talked a
14       A. Correct.                                      14   little bit about Exhibit 462 that talks about the
15           MS. MARTINEZ: Objection, form.               15   Orange Book data. And we talked about the criteria
16       Q. And so -- I want to get back to this          16   already, correct? And now you've identified I think
17   computer business. Was the computer program          17   another criteria, which is to exclude injectable
18   specifically designed to not include injectables or  18   drugs, right?
19   how did that work?                                   19            MS. MARTINEZ: Objection, form.
20       A. You'd have to talk to the data folks. We      20       A. Correct.
21   were not including injectables. I don't know what    21       Q. Is that criteria written down anywhere?
22   criteria they put in there.                          22            MR. WINGET-HERNANDEZ: Objection, form.

                                                                                63 (Pages 246 to 249)
                          Henderson Legal Services, Inc.
202-220-4158                                                   www.hendersonlegalservices.com

                                                                                           c68935c6-4f35-4a4e-9ec1-be302bbe74cf
